     Case 25-31438-BFK                           Doc 9 Filed 04/17/25 Entered 04/18/25 00:16:25                                         Desc Imaged
                                                      Certificate of Notice Page 1 of 6
Information to identify the case:

Debtor 1:
                      James Bradford Hines Sr                                    Social Security number or ITIN:   xxx−xx−5321
                                                                                 EIN: _ _−_ _ _ _ _ _ _
                      First Name   Middle Name   Last Name

Debtor 2:                                                                        Social Security number or ITIN: _ _ _ _
                      First Name   Middle Name   Last Name
(Spouse, if filing)                                                              EIN: _ _−_ _ _ _ _ _ _
United States Bankruptcy Court:        Eastern District of Virginia               Date case filed for chapter:       7     4/14/25

Case number:           25−31438−BFK

Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                              12/15

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read all pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at https://pacer.uscourts.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                       About Debtor 2:

1.      Debtor's full name                       James Bradford Hines Sr

2.      All other names used in the
        last 8 years

3.      Address                                  259 N Point Dr
                                                 Clarksville, VA 23927

4.      Debtor's attorney                        Daniel M. Press                                       Contact phone (703) 734−3800
        Name and address                         Chung & Press, P.C.                                   Email: dpress@chung−press.com
                                                 6718 Whittier Ave., Suite 200
                                                 McLean, VA 22101

5.      Bankruptcy trustee                       Lynn L. Tavenner                                      Contact phone (804) 783−8300
        Name and address                         20 North Eighth Street, Second Floor                  Email: LTavenner@TB−Lawfirm.com
                                                 Richmond, VA 23219
                                                                                                               For more information, see page 2 >
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                    page 1
    Case 25-31438-BFK                            Doc 9 Filed 04/17/25 Entered 04/18/25 00:16:25                                         Desc Imaged
                                                      Certificate of Notice Page 2 of 6
Debtor James Bradford Hines Sr                                                                                Case number 25−31438−BFK


6. Bankruptcy clerk's office                     701 East Broad Street                                  For the Court:
                                                 Richmond, VA 23219
    Documents in this case may be                                                        Clerk of the Bankruptcy Court:
    filed at this address. You may         Hours open Monday − Friday, 9:00 AM − 4:00 PM Charri S Stewart
    inspect all records filed in this case ET, except on holidays.
    at this office or online at                                                          Date: April 15, 2025
    https://pacer.uscourts.gov.            Contact phone 804−916−2400
    McVCIS 24−hour case
    information:
    Toll Free 1−866−222−8029

7. Meeting of creditors                          May 12, 2025 at 11:00 AM                           Location:
                                                                                                    Zoom video meeting. Go to
    Debtors must attend the meeting to be       The meeting may be continued or adjourned to a Zoom.us/join, Enter Meeting ID
    questioned under oath. In a joint case,     later date. If so, the date will be on the court
    both spouses must attend. Creditors may                                                         229 481 6311, and Passcode
    attend, but are not required to do so.      docket.                                             7808550247, or call 1(804)
                                                                                                    587−0861
                                      For additional meeting information go to: www.justice.gov/ust/moc

8. Presumption of abuse                          The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge or           Filing deadline: July 11, 2025
                                               to challenge whether certain debts are
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                 You must file a complaint:
                                                 • if you assert that the debtor is not entitled to
                                                   receive a discharge of any debts under any of
                                                   the subdivisions of 11 U.S.C. § 727(a)(2)
                                                   through (7),
                                                   or
                                                 • if you want to have a debt excepted from
                                                   dischargeunder 11 U.S.C § 523(a)(2),
                                                   (4), or (6).

                                                 You must file a motion:
                                                 • if you assert that the discharge should be
                                                   denied under § 727(a)(8) or (9).


                                                 Deadline to object to exemptions:                      Filing deadline: 30 days after the
                                                 The law permits debtors to keep certain property       conclusion of the meeting of
                                                 as exempt. If you believe that the law does not        creditors
                                                 authorize an exemption claimed, you may file an
                                                 objection.

10. Proof of claim                               No property appears to be available to pay creditors. Therefore, please do not file a
                                                 proof of claim now. If it later appears that assets are available to pay creditors, the clerk
    Please do not file a proof of claim unless   will send you another notice telling you that you may file a proof of claim and stating the
    you receive a notice to do so.               deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                     United States bankruptcy law if you have any questions about your rights in this case.
                                                                                                               For more information, see page 3 >
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                    page 2
    Case 25-31438-BFK                       Doc 9 Filed 04/17/25 Entered 04/18/25 00:16:25                                      Desc Imaged
                                                 Certificate of Notice Page 3 of 6
Debtor James Bradford Hines Sr                                                                                 Case number 25−31438−BFK


12. Exempt property                    The law allows debtors to keep certain property as exempt. Fully exempt property will not be
                                       sold and distributed to creditors. Debtors must file a list of property claimed as exempt. You
                                       may inspect that list at the bankruptcy clerk's office or online at https://pacer.uscourts.gov. If
                                       you believe that the law does not authorize an exemption that the debtors claim, you may file
                                       an objection. The bankruptcy clerk's office must receive the objection by the deadline to object
                                       to exemptions in line 9.
13. Local Rule Dismissal               Case may be dismissed for failure to timely file lists, schedules and statements, or to attend
    Warning                            meeting of creditors. (Local Bankruptcy Rules 1007−1, 1007−3, and 2003−1.) Trustee may at
                                       the meeting give notice of intention to abandon property burdensome or of inconsequential
                                       value or intent to sell nonexempt property that has an aggregate gross value less than
                                       $2,500. Objections thereto must be filed pursuant to Local Bankruptcy Rules 6004−2 and
                                       6007−1.
14. Payment of Fees for                Payment may be made by non debtor's check, money order, or cashier's check made
    Richmond Case and                  payable to Clerk, U.S. Bankruptcy Court, or any authorized non debtor's credit card. Cash is
    Adversary Filing and               NOT accepted.
    Miscellaneous Requests
Electronic bankruptcy notices are delivered faster than the U.S. Mail if you have a PC with Internet connection or a Fax machine.
For more information, go to bankruptcynotices.uscourts.gov or call, toll free: 877−837−3424. Case/docket information available
@ www.vaeb.uscourts.gov

ATTENTION DEBTORS: Receive your court notices and orders by email through the DeBN. Same−day delivery. Convenient
Access. Free. For more information and to download the request form, go to www.vaeb.uscourts.gov and select the Debtor
Electronic Bankruptcy Noticing link from the ATTENTION DEBTORS DeBN banner.
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline           page 3
       Case 25-31438-BFK                      Doc 9 Filed 04/17/25 Entered 04/18/25 00:16:25                                            Desc Imaged
                                                   Certificate of Notice Page 4 of 6
                                                              United States Bankruptcy Court
                                                               Eastern District of Virginia
In re:                                                                                                                 Case No. 25-31438-BFK
James Bradford Hines, Sr                                                                                               Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0422-7                                                  User: RenierJes                                                             Page 1 of 3
Date Rcvd: Apr 15, 2025                                               Form ID: 309A                                                             Total Noticed: 40
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

^                Addresses marked '^' were sent via mandatory electronic bankruptcy noticing pursuant to Fed. R. Bank. P. 9036.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Apr 17, 2025:
Recip ID                   Recipient Name and Address
db                     +   James Bradford Hines, Sr, 259 N Point Dr, Clarksville, VA 23927-4432
16689602               +   Ahern, PO Box 271390, Las Vegas, NV 89127-1390
16689609               +   Delta Funding, 6272 Saginaw Road #1118, Grand Blanc, MI 48439-2705
16689611               +   Duke Medical, PO Box 110566, Durham, NC 27709-5566
16689613               +   Freeman Dunn Lucy & Coates, 1045 Cottontown Rd, Lynchburg, VA 24503-4961
16689614               +   H&S Construction & Design LLC, 259 N Point Dr, Clarksville, VA 23927-4432
16689616               +   Law Offices of Steven Zakharyayev, PLLC, Empire Recovery Solutions, LLC, 10 W 37th St, RM 602, New York, NY 10018-7473
16689618               +   Maria Parham Hospital, 566 Ruin Creek Road, PO Box 59, Henderson, NC 27536-0059
16689619               +   Mark A Kirkorsky, PC, 1119 W Southern Avenue Suite 200, Mesa, AZ 85210-4936
16689620               +   Matthew & Sharon Hoffman, c/o James T Duckworth III, Esq., 106 Main St, PO Box 428, Oxford, NC 27565-0428
16689621               +   PNC Bank, PO Box 71355, Philadelphia, PA 19176-1355
16689622               +   PNC Bank, PO Box771021, Chicago, IL 60677-1021
16689623               +   Prosperum Capital Partners, 8 W 36th St, New York, NY 10018-9774
16689626               +   Robert Hawthorne Jr Esq, PO Box 219, 115 S Main St, Blackstone, VA 23824-1841
16689628               +   SMAK Holdings, 3214 Foxvale Drive, Oakton, VA 22124-2238
16689631               +   Talbert Building Supply, 3101 Hillsborough Rd, Durham, NC 27705-3002
16689634               +   Van Sickle Law, PLLC, 1135 Kildaire Farm Rd # 200, Cary, NC 27511-4587
16689635               +   Vericore, 10115 Kincey Avenue, Ste 100, Huntersville, NC 28078-6482
16689636               +   Vulcan Materials, PO Box 75219, Charlotte, NC 28275-0219
16689637               +   Womble Bond Dickinson/R Prosser, 555 Fayetteville Street, Ste 1100, Raleigh, NC 27601-3034

TOTAL: 20

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                   Notice Type: Email Address                                   Date/Time                 Recipient Name and Address
aty                        Email/Text: dpress@chung-press.com
                                                                                        Apr 16 2025 02:29:00      Daniel M. Press, Chung & Press, P.C., 6718
                                                                                                                  Whittier Ave., Suite 200, McLean, VA 22101
tr                         Email/Text: lynn.tavenner@txitrustee.com
                                                                                        Apr 16 2025 02:29:00      Lynn L. Tavenner, 20 North Eighth Street, Second
                                                                                                                  Floor, Richmond, VA 23219
16689601               + Email/Text: bankruptcynotifications@adp.com
                                                                                        Apr 16 2025 02:30:31      ADP, One ADP Blvd., Roseland, NJ 07068-1786
16689603               + EDI: GMACFS.COM
                                                                                        Apr 16 2025 05:56:00      Ally Financial, PO Box 8140, Cockeysville, MD
                                                                                                                  21030-8140
16689605               + Email/Text: jpaige@cfgms.com
                                                                                        Apr 16 2025 02:30:00      CFG Merchant Solutions, 180 Maiden Ln, 15th Fl,
                                                                                                                  New York, NY 10038-5150
16689604               + EDI: CAPITALONE.COM
                                                                                        Apr 16 2025 05:56:00      Capital One, PO Box 71087, Charlotte, NC
                                                                                                                  28272-1087
16689606               + EDI: JPMORGANCHASE
                                                                                        Apr 16 2025 05:56:00      Chase Auto, PO Box 901076, Fort Worth, TX
                                                                                                                  76101-2076
16689607               + Email/Text: kmulligan@credibly.com
                                                                                        Apr 16 2025 02:31:00      Credibly, 25200 Telegraph Rd, Suite 350,
                                                                                                                  Southfield, MI 48033-7416
16689610                   Email/Text: cstevenson@deltamanagement.us
       Case 25-31438-BFK                   Doc 9 Filed 04/17/25 Entered 04/18/25 00:16:25                                        Desc Imaged
                                                Certificate of Notice Page 5 of 6
District/off: 0422-7                                              User: RenierJes                                                          Page 2 of 3
Date Rcvd: Apr 15, 2025                                           Form ID: 309A                                                          Total Noticed: 40
                                                                                   Apr 16 2025 02:29:00     Delta Management, 2499 Rice St Suite 245, Saint
                                                                                                            Paul, MN 55113
16689608              + Email/Text: bk@dfogelpc.com
                                                                                   Apr 16 2025 02:30:00     David Fogel esq, 1225 Franklin Avenue Suite 201,
                                                                                                            Garden City, NY 11530-1890
16689612              + Email/Text: collectionbankruptcies.bancorp@53.com
                                                                                   Apr 16 2025 02:31:00     Fifth Third Bank, PO Box 630412, Cincinnati, OH
                                                                                                            45263-0412
16689615              ^ MEBN
                                                                                   Apr 16 2025 02:25:39     Home Depot Credit, PO Box 70614, Philadelphia,
                                                                                                            PA 19176-0614
16689617              + Email/Text: sthomas@lyoncredit.com
                                                                                   Apr 16 2025 02:30:00     Lyon Collection Services, 7924 West Sahara
                                                                                                            Avenue, Las Vegas, NV 89117-1990
16689624              + Email/Text: cognizantrcminfo@cognizant.com
                                                                                   Apr 16 2025 02:30:00     Receivables Outsourcing Inc, PO Box 549,
                                                                                                            Lutherville Timonium, MD 21094-0549
16689625              ^ MEBN
                                                                                   Apr 16 2025 02:24:37     Revco Solutions, PO Box 163279, Columbus, OH
                                                                                                            43216-3279
16689627              + Email/Text: bcccsubankruptcyemail@sentara.com
                                                                                   Apr 16 2025 02:30:00     Sentara Halifax Regional Hospital, 2204 Wilborn
                                                                                                            Ave., South Boston, VA 24592-1645
16689630              + EDI: SYNC
                                                                                   Apr 16 2025 05:56:00     Synchrony Bank, PO Box 669805, Dallas, TX
                                                                                                            75266-0757
16689629              + EDI: SYNC
                                                                                   Apr 16 2025 05:56:00     Synchrony Bank, PO Box 669824, Dallas, TX
                                                                                                            75266-0781
16689632              + Email/Text: legal@thelcfgroup.com
                                                                                   Apr 16 2025 02:30:00     The LCF Group, 3000 Marcus Ave, Ste. 2W15,
                                                                                                            New Hyde Park, NY 11042-1005
16689633              + Email/Text: sluna@ur.com
                                                                                   Apr 16 2025 02:31:00     United Rentals, 100 First Stamford Place, Ste 700,
                                                                                                            Stamford, CT 06902-9200

TOTAL: 20


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                   NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Apr 17, 2025                                        Signature:           /s/Gustava Winters




                                 CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on April 15, 2025 at the address(es) listed below:
Name                             Email Address
Daniel M. Press
                                 on behalf of Debtor James Bradford Hines Sr dpress@chung-press.com, pressdm@gmail.com;danpress@recap.email

Lynn L. Tavenner
                                 LTavenner@TB-Lawfirm.com amorris@tb-lawfirm.com;ecf.alert+Tavenner@titlexi.com
      Case 25-31438-BFK           Doc 9 Filed 04/17/25 Entered 04/18/25 00:16:25   Desc Imaged
                                       Certificate of Notice Page 6 of 6
District/off: 0422-7                                 User: RenierJes                    Page 3 of 3
Date Rcvd: Apr 15, 2025                              Form ID: 309A                    Total Noticed: 40
Matthew W. Cheney
                          USTPRegion04.RH.ECF@usdoj.gov


TOTAL: 3
